                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION

KEVIN-ANDREW CRONIN,                          )
                                              )
       Plaintiff,                             )
                                              )       No. 4:10-cv-154
       vs.                                    )
                                              )
PENDER & COWARD, A                            )
PROFESSIONAL CORPORATION,                     )
d/b/a DOMINION LAW ASSOCIATES,                )
                                              )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                           COMPLAINT

       NOW COMES the Plaintiff, KEVIN-ANDREW CRONIN by and through his attorney,

M. LYNETTE HARTSELL, and for his Complaint against the Defendant, PENDER &

COWARD, A PROFESSIONAL CORPORATION, d/b/a DOMINION LAW ASSOCIATES

Plaintiff alleges and states as follows:

                                 PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                 JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.




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                                              PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Tarboro, North

Carolina.

       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural

person allegedly obligated to pay a debt.

       5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

       6.      On information and belief, Defendant is a professional corporation of the State of

Virginia, which is licensed to do business in North Carolina and which has its principal place of

business in Virginia Beach, Virginia.

                                              COUNT I

                       (Violation of the Fair Debt Collection Practices Act)

       7.      Beginning during the month of February of 2010, Defendant’s representatives

and/or employees began contacting Plaintiff by telephone in attempts to collect the

aforementioned alleged debt.

       8.      On or about February 28, 2010, Plaintiff mailed a letter to Defendant requesting

validation of the alleged debt. A copy of said letter is attached hereto as Exhibit 1.

       9.      Defendant did not respond to Plaintiff’s request for validation, but instead

continued collection efforts.

       10.     On or about April 8, 2010, Defendant arranged for service upon Plaintiff of a

Summons and Complaint which Defendant had filed in the Edgecombe County, North Carolina,

District Court, in a further attempt to collect the alleged debt.




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       11.     On or about September 23, 2010, Defendant filed a Motion for Summary

Judgment in the aforementioned lawsuit in a further attempt to collect the alleged debt.

       12.     To date, Defendant has failed to send the written notice to Plaintiff required by 15

U.S.C. § 1692g(a).

       13.     In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

               a.     Failing to send the written notice to Plaintiff which is required by 15

                      U.S.C. § 1692g(a);

               b.     Continuing collection activities without providing verification of the debt

                      to Plaintiff after Plaintiff requested verification of the debt in writing, in

                      violation of 15 U.S.C. § 1692g(b); and

               c.     By acting in an otherwise deceptive, unfair and unconscionable manner

                      and failing to comply with the FDCPA.

       14.     As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, KEVIN-ANDREW CRONIN, respectfully prays for a

judgment against Defendant as follows:

               a.     Statutory damages of $1,000.00 for each violation of the FDCPA;

               b.     All reasonable attorneys’ fees, witness fees, court costs and other litigation

                      costs incurred by Plaintiff; and

               c.     Any other relief deemed appropriate by this Honorable Court.




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                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ M. Lynette Hartsell
                                                      M. Lynette Hartsell (9845)
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